                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Patrick Udoewa,            )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )            3:18-cv-00535-MOC-DCK
                                      )
                  vs.                 )
                                      )
          Ettain Group, Inc.,         )
            Defendant(s).             )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 31, 2019 Order.

                                               October 16, 2020




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